Case: 2:21-cv-00072-DLB-CJS Doc #: 67 Filed: 02/09/24 Page: 1 of 2 - Page ID#: 518




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                           NORTHERN DIVISION AT COVINGTON
                              CASE NO. 2:21-CV-00072-DLB

JEFFREY CUNDIFF                                                                      PLAINTIFF

v.

DOUGLAS ULLRICH, et al.                                                           DEFENDANTS


                             AGREED STATEMENT OF THE CASE


       This case stems from a search that Defendant, Covington Police Officer Douglas

Ullrich, conducted of Plaintiff, Jeffrey Cundiff, during a traffic stop on June 8, 2020.

       Mr. Cundiff claims that Officer Ullrich violated his rights under the Fourth

Amendment of the United States Constitution by searching his person during the traffic stop

when Officer Ullrich searched under Mr. Cundiff’s clothing and fondling his genitals and

performing a body cavity search by inserting his finger into his anus. Additionally, Mr.

Cundiff claims that the real reason Officer Ullrich conducted the search was to retaliate

against Mr. Cundiff for calling Officer Ullrich a “dick sucker,” which, if true, may violate Mr.

Cundiff’s First Amendment rights.

       Officer Ullrich denies that he conducted the search to retaliate against Mr. Cundiff,

and claims he conducted the search because he had probable cause to believe that Mr.

Cundiff had drugs hidden under his clothing. And, Officer Ullrich denies that he gratuitously

fondled Mr. Cundiff’s genitals or inserted a finger into Mr. Cundiff’s anus during the search.




                                                1
Case: 2:21-cv-00072-DLB-CJS Doc #: 67 Filed: 02/09/24 Page: 2 of 2 - Page ID#: 519




Respectfully submitted,


 /s/ Jeffrey C. Mando                             /s/ Christopher D. Roach (per authorization)
 Jeffrey C. Mando, Esq. (#43548)                  Christopher D. Roach
 Jennifer L. Langen, Esq. (#87960)                Benjamin T.D. Pugh
 ADAMS LAW, PLLC                                  PUGH & ROACH, ATTORNEYS AT LAW
 40 West Pike Street                              28 West Fifth Street
 Covington, KY 41011                              Covington, KY 41011
 859.394.6200 | 859.392.7200 – Fax                859.291.5555
 jmando@adamsattorneys.com                        chris@prlaw.legal
 jlangen@adamsattorneys.com                       tom@prlaw.legal

 Attorneys for Defendant, Douglas Ullrich, in Attorneys for Plaintiff, Jeffrey Cundiff
 his individual capacity as a Covington,
 Kentucky Police Officer


                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of February, 2024, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system, which will send a notice
of electronic filing to all counsel of record.


                                                    /s/ Jeffrey C. Mando
                                                    Jeffrey C. Mando, Esq.




                                              2
